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Kaaran Thomas (State Bar No. 7193) Electronically Filed on May 11, 2007
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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re Case No. BK-S-06-10725-LBR
Case No. BK-S-06-10726-LBR
USA COMMERCIAL MORTGAGE Case No. BK-S-06-10727-LBR
COMPANY, Case No. BK-S-06-10728-LBR
Case No. BK-S-06-10729-LBR
USA CAPITAL REALTY
ADVISORS, LLC, CHAPTER 11
USA CAPITAL DIVERSIFIED (Jointly Administered Under
TRUST DEED FUND LLC, Case No. BK-S-06-10725-LBR)
USA CAPITAL FIRST TRUST MOTION OF KREG ROWE ET. AL, TO
DEED FUND LLC, QUASH SUBPOENAS (INSOFAR AS
SUBPOENA SEEKS RECORDS OF THE
USA SECURITIES, LLC, ABOVE LISTED ENTITIES AND
INDIVIDUALS) DIRECTED TO WELLS
Debtors. FARGO BANK, N.A., WELLS FARGO
BANK OF NEVADA, NEVADA STATE
Affects: BANK, JP MORGAN CHASE, BANK OF
& All Debtors THE WEST, OPPENHEIMER FUNDS,
: USA Commercial Mortgage Company BANK OF AMERICA, CITY BANK, KREG
: USA Capital Realty Advisors, LLC ROWEW, BRETT SEABERT, OR IN THE
: USA Capital Diversified Trust Deed ALTERNATIVE, MOTION FOR
Fund, LLC PROTECTIVE ORDER
: USA Capital First Trust Deed Fund,
LLC Hearing Date: June 15, 1007
: USA Securities, LLC Hearing Time: 1:30 p.m.
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Kreg Rowe et. al.! (“the Movants”) file this Motion seeking to quash
Subpoenas directed to Wells Fargo Bank, N.A., Wells Fargo Bank of Nevada,
Nevada State Bank, JP Morgan, Bank of the West, Oppenheimer Funds, and
Bank of America (“the Banks”) and Kreg Rowe and Brett Seabert (the
“Individuals”). This Motion is supported by the Declaration of Brett Seabert in
support of the Motion, the pleadings previously filed in this case identified
herein, the points and authorities below, and the exhibits attached hereto.

I, FACTUAL BANKGROUND

1. On January 8, 2007 this Court entered its Order Confirming the
Debtors’ Third Amended Joint Chapter 11 Plan of Reorganization as Modified?.
Pursuant to paragraphs 10 and 28 of the Plan on the Effective Date, all assets of

the USACM Estate not collected or disposed of on or prior to the Effective date,

1 McDonald Carano Wilson LLP’s additional clients and Movants to this motion
are: Brett Seabert, B & L Investments, Inc., Cabernet Highlands, LLC, Caughlin
Club Management Partners, LLC, Caughlin Club Real Property Investors, LLC,
CCRE Investors, LLC, Chardonnay Village Investors, LLC, Classic Residences,
LLC, Comstock Village Investors, LLC, DDH Financial Corp, Diamond Village
Investors 11, LLC, Diamond Village Investors 1 & 12, LLC, Double Diamond
Homes, LLC, Double Diamond Management Company, LLC, Emigh Investments,
LLC, Equus Management Group, Inc., Foothill Commerce Center, LLC,
Homewood Village Investors I, LLC, La Hacienda Land Investors, Inc., Longley
Town Centre, LLC, Longley Professional Campus, LLC, The Meadows Investors,
LLC, Miners Village Investors, LLC, Monticello Investors, LLC, Mountainview
Campus Investors, LLC, MP Tanamera, LLC, Pioneer Village Investors, LLC,
Preserve at Galleria, LLC, Reno Corporate Center, LLC, Reno Design Center,
LLC, Rowe Family Trust, RITC Communications, LLC, Sandhiil Business
Campus, LLC, Sierra Vista Investors, LLC, South Meadows Commercial
Property, LLC, South Meadows Office Investors, LLC, Sparks Galleria Investors,
LLC, Sparks Galleria Investors II, LLC, Tanamera Commercial Development,
LLC, Tanamera Corporate Center, LLC, Tanamera Development, LLC, Tanamera
Homes, LLC, Tanamera Resort Condominiums, LLC, Tanamera Resort Partners,
LLC, TCD Financial Corp, TCD Land Investments, LLC, Vineyard Highlands,
LLC, The Vineyard Investors, LLC, Vineyard Professional Campus, LLC,
Waterford Partners, LLC, Wyndgate Partners II, LLC, Wyndgate Village Investors,
LLC, Michael Efstratis, Kraig Knudsen and Joe Lopez.

2 Movants request the Court to take judicial notice of the Order and of the Third
Amended Plan pursuant to Federal Rule of Evidence 201.

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including all USACM Litigation Claims, minus any Cash needed to make
required payments, vested in the USACM Trust.

2. On March 6, 2007 and April 9, 2007, the attorneys for the USACM
Liquidating Trust (“the Trust’), filed several motions for Rule 2004 examinations.
Apparently, in response to the various Motions, Special Litigation Counsel for
the Trust, executed and served several twenty-four (24) page Subpoenas,
containing ninety-three (93) requests for documents maintained at any Wells
Fargo Bank branch and, upon information and belief, at any branch of Nevada
State Bank, JPMorgan Chase Bank, Bank of the West, Bank of Commerce,
Desert Community Bank, Oppenheimer Funds Citibank (Nevada), Bank of
America, N.A.3 (the “Banks”) relating to 188 different companies/entities and
36 different individuals, which included all the Movants. Although the
subpoenas were directed to the Banks, the information requested by the
Subpoenas includes the personal and private banking information of the
Movants. A true and correct copy of the Wells Fargo Subpoena is attached
hereto as Exhibit “A” and incorporated herein by reference. On April 26, the
Trust filed two additional Motions for 2004 Examinations of Kreg Rowe and
Brett Seabert. True and correct copies of the Rowe and Seabert subpoenas are
attached hereto as Exhibits “C” and “D”.

3. In these motions, true and correct copies of which are attached
hereto as Exhibits B-1 through B-12, the Trust fails to explain to the Court, and
actually misleads the Court as to the purpose of the Rule 2004 examinations.
For example, in the Motion filed for examination of the Bank of America’s
custodian of records, the Motion merely states:

The Movant seeks information concerning the legal services in
performed by BofA on behalf of USACM, the other debtors in the

3 This motion does not seek to quash the subpoenas served upon Citibank, Desert Community
Bank, or the Bank of Commerce.

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above-captioned cases (together with USACM, the “Debtors”),

affiliates, subsidiaries, parents or otherwise related entities. The

Movant seeks this information to assist in the collection of the

assets of the investigation of the liabilities of the Debtors.

(Id.) (Docket No. 3389) (emphasis added), 4 This same paragraph appears eight
motions. (See Docket Nos. 3381-3389).5 None of these motions, however,
included a copy or draft of the subpoena as an exhibit that was intended to be
served in the event the motion(s) were granted.

4. On April 10, 2007 and April 20, 2007 the Court entered orders
granting the Trust’s Rule 2004 motions. Thereafter the first ten subpoenas to
the banks (the “Bank Subpoenas”) were served. Neither the Bank subpoenas nor
the Motions and orders were provided to Movants at the time. The Bank
subpoenas, as described above - are twenty-four (24) pages, containing ninety-
three (93) requests for documents maintained at any of the bank branches
listed for the various bank and financial institutions, relating to 188 different
companies/entities and 36 different individuals. These subpoenas, like that
subpoena described above, request vast amount of private and personal banking
information of the Movants that are entirely unrelated Debtors in this case. In
fact, the Subpoenas request a vast array of records, the majority of which are
unrestricted requests as to any subject matter and not restricted to anything

having to do with the Debtor entities.

4 It is unlikely that any of these banks provided “legal services” to USACM, which is the basis of
the documents and the Rule 2004 examinations requested Each of these entities is either a

bank or banking institution.

° Note that Trust filed a Second Amended Motion re arding the Wells Fargo 2004 Examination,
and that motion sought an examination regarding “financial services, wire transfers and other

services.” (Ex. B). Such amended motions were not filed with regard to the other financial
institutions which are recipients of the abusive subpoenas.

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5. For example, among other documents being sought, these
Subpoenas seek the following documents related to individuals, including from
the Movants:

3. Any and all documents evidencing any and all
accounts at Wells Fargo held in the name of or for the benefit of
any of the Individuals,

9. Any and all documents’ evidencing the
transactions and/or activity in the accounts at Wells Fargo held in
the name of or for the benefit of any of the Individuals.

12. Any and all documents evidencing the history of
the relationship between any of the Individuals and Wells Fargo.

43. Any and all documents evidencing loans or other
forms of credit extended to any person or company affiliated with
the Debtors, Entities, and/or Individuals by Wells Fargo and the
terms thereof.

54. <Any and all documents evidencing wire transfers
received or sent by Wells Fargo with reference to any accounts at
Welts Fargo held in the name of or for the benefit of any of the
Individuals.

66. Any and all documents evidencing Wells Fargo’s
knowledge of the sources and uses of funds deposited into any
accounts at Wells Fargo held in the name of or for the benefit of
any of the Individuals.

69, Any and all documents evidencing Welts Fargo’s
knowledge of the business activities of any Individuals.

81. Any and ali documents evidencing any
participation by Wells Fargo in any loans extended by any
Individuals to a third party.

(See, for example, Wells Fargo Bank, N.A. subpoena, attached hereto as Ex. A)

(each of the other subpoenas is identical in language and content).
6. The scope of the documents requested from the various banks and
financial institutions as to companies/entities, is equally as broad, including, for

example, the following:

2, Any and all documents evidencing any and all
accounts at Wells Fargo held in the name of or for the benefit of
any of the Entities.

8. Any and all documents evidencing the
transactions and/or activity in the accounts at Wells Fargo held in
the name of or for the benefit of any of the Entities.

11. Any and all documents evidencing the history of
the relationship between any of the Entities and Wells Fargo.

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46. Any and all documents evidencing
correspondence and communications between any of the Entities
and Wells Fargo...

20. <Any and all documents evidencing meetings
between Wells Fargo and any Entities.

53. Any and all documents evidencing wire transfers
received or sent by Wells Fargo with reference to any accounts at
Wells Fargo held in the name of or for the benefit of any of the
Entities.

65. Any and all documents evidencing Wells Fargo’s
knowledge of the sources and uses of funds deposited into any
accounts at Wells Fargo held in the name of or for the benefit of
any of the Entities.

68. Any and all documents evidencing Wells Fargo’s
knowledge of the business activities of any Entities.

80. Any and all documents evidencing any
participation by Wells Fargo in any loans extended by any Entities
to a third party.

(Id.)
7. As already indicated, these Bank subpoenas are not restricted to

documents and records pertaining to transactions related to the five Debtor
entities.

8. The subpoenas to Kreg Rowe and Brett Seabert (the “Individual
subpoenas”) which were not even mentioned in the 2004 Motions, treat Row and
Seabert as “Corporate Representatives” and require them to produce documents
for the same 188 entities. None of the entities were subpoenaed.

9, The Debtors never had an ownership interest in any of the Movant
companies. (Brett Seabert Decl., Ex. C). Rather, USA Investment Partners, LLC
(“USAIP”), which is not a Debtor in this action, has or had an ownership interest

(directly or indirectly) in only 13 of the 51 Movant companies® USAIP is an

6 Movants are informed and believe that USAIP has ledged such membership interests to
USACM as collateral for a note which is currently not in default.

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alleged debtor in an involuntary Chapter 11 proceeding, Case No. 07-11821-
LBR, filed before this court.’

10. For example, Seabert Declaration identifies many Movant entities
that never received a loan or any type of funding from USACM and many entities
in which USAIP has never been an owner or member.

11. However, regardless of their relationship with USACM or USAIP,
none of the Movants should not be subject the intrusive subpoenas into their
personal financial data.®

12. The subpoenas also go so far as to seek the personal financial
records of several employees of the Movant entities. Movants Kreg Rowe, Brett
Seabert, Kraig Knudsen, Joe Lopez and Mike Efstratis are employed by
Tanamera Commercial Development. (Id).

13. Despite a history of negotiations and cooperation between Movants’
representatives Mssrs. Brett Seabert and Kreg Rowe and counsel for the Trust,
none of the Movants were notified that records related to Movants were the
subject of a Subpoena in Nevada nor were courtesy copies provided to the
Movants’ counsel. (Id).

14. After Movants learned of the subpoenas Movants offered to meet

with the Trust representatives to discuss any known transfers of funds from

USACM or the Diversified Trust Deed Fund into the subject bank accounts and

7 USAIP did not seek the subpoenas. The subpoenas are an attempt to exercise control over
USAIP’s assets, and such conduct is stayed by 11 USC. Section 362.

8 Only two currently have loans outstanding: Cabernet Highlands, LLC and Tanamera
Commercial Development, LLC (id). However, Tanamera Commercial Development, LLC has
been informed that its loan was transferred to USAIP. (Ex. C).

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provide records. This response was met with silence. Instead, the Trust
representatives sent a letter to one or more of the banks purporting to “modify”
their subpoena. The proposed unilateral modification does not remove the force
of the subpoenas and it requires the Banks to determine in which of the
accounts USACM, the Diversified Trust Deed Fund or USAIP has an interest or
is “manager”. A true and correct copy of a sample letter is attached hereto as
Exhibit “E”. Following further attempts to resolve their disputes the Trust
unilaterally filed the April 26 Motions against the Individuals. Upon information
and belief the Trust continues to file Motions for Rule 2004 exams relating to
Movants.

I. LEGAL ARGUMENT
A. Standard For Review Of A Motion To Quash 2004 Examinations.

15. Movants seek an order quashing the Rule 2004 examination
subpoenas because: (1) such motions and subpoenas are not proper after the
USACM plan of reorganization has been confirmed and all of the Debtors’ assets
have been transferred to the Trust; (2) such discovery would be beyond the
scope of a 2004 examination even if the USACM case were still a Chapter 11
because it bears o apparent relationship to property that was once owned by the
Debtors other than premature post-judgment discovery; (3) the Movant’s
personal, confidential financial records have no relation to the Debtors or this
bankruptcy proceeding; (4) Rowe and Seabert are not the proper persons to
subpoena for the corporate records of 188 entities - the Trust must subpoena
the entities and their custodians of records; (5) the subpoenas are abusive and
harassing; (6) the Rule 2004 motions filed by the Trust were improper and the
subpoenas issued do not accurately reflect the information sought and ordered

by the Court; and (6) the Movants’ interest in the privacy of their financial

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records far exceeds the Trust’s need for this information. See Fed. R. Bankr. P.
2004; Fed. R. Civ. P. 45(c). Thus, the motion to quash should be granted.

16. In the context of a Rule 2004 examination, once a motion to quash
has been filed, the burden is placed in the examiner to prove that “good cause
exists” for taking the required discovery. In re Dinubilo, 177 B.R. 932, 943
(Bankr.E.D. Cal. 1993). “Good cause” may be established if the party seeking the
examination can show that it is “necessary” or that denial of the subpoena will
cause the examiner undue hardship or injustice. Id. Here, there is no good
cause.

B. The 2004 Examinations Are Not A Proper Exercise Of Post-

Confirmation Jurisdiction

17. The administration of the Debtors’ bankruptcy cases concluded on
January 8, 2007 when the Debtors’ joint plan was confirmed by the Court. The
estate assets were vested in the various post-confirmation entities. It is not
clear for what purpose the Trust seeks to use the subpoenaed information.
However, given the overly broad scope of the subpoenas and the massive net
cast over the various entities and individuals, it can only be presumed that the
intended purpose of obtaining this information is to obtain inappropriate pre-
litigation discovery.

18. This purpose is not proper. Long ago, the court in Good Hope
Refineries noted:

“Rule 205 [precursor to Rule 2004) is intended to provide the Trustee,
generally new to the case, with a very broad discovery device to aid in an
efficient and expeditious ingathering of all of the pertinent facts necessary in the
effective administration of the estates.

It is not intended to give the rehabilitated debtor post confirmation a
strategic advantage in fishing for potential private litigation. Our basic concept
of fair play expressed in the constitutional legalese of equal protection and due
process should require all litigants to use the same discovery and procedural
rules when not directly engaged in those activities that call for the bankruptcy
umbrella, namely, that collection of activities characterized as the
administration of the estate.” In re Good Hope Refineries, Inc., 9 B.R. 421, 423

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(Bankr.D.Mass.1981}); In re GHR Energy Corp.,, 35 BR. 534, 537
(Bankr .D.Mass.1983).

19, Since enactment of the new bankruptcy rules, courts have
continued to hold that examinations of matters having no relationship to the
bankrupt’s affairs or the administration of the estate are improper. Keene Corp.
v. Johns-Manville Corp.,, 42 B.R. 362, 364 (Bankr.S.D.N.Y. 1984); Dinublio, 177
B.R. at 940,

20. If the Rule 2004 examination is attempted post-confirmation, as is
the case here, the examination is restricted to the administration of the case
post-confirmation ~ that is to say limited to issues which court at that time still
has power to entertain. Cinderella Clothing Industries, 93 B.R 373 (Bkrtcy E.D.
Pa. 1988)

21. The 2004 Motions did not even address this requirement. Moreover,
the Motions could not meet this requirement because the matters which are the
subject of the Motions deal with assets belonging to the Trust not to the estate.

22. There admittedly exists a residue, albeit limited, of court authority
over a confirmed chapter 11 case. Courts have recognized the competing
interests between retaining jurisdiction after confirmation until entry of the final
decree (see Bankr.R. 3020), and ending the 'tutelage' status of reorganization.
There is no doubt that the bankruptcy court's jurisdiction continues post
confirmation to "protect its confirmation decree, to prevent interference with the
execution of the plan and to aid otherwise in its operation." Id., quoting In re
Dilbert's Quality Supermarkets, Inc, 368 F.2d 922, 924 (2d Cir 1966). See also
11 U.S.C. § 1142.

23. The proposed examinations do not serve this purpose. Rather — they
seek to use a bankruptcy estate’s powers to quickly ascertain the estate’s assets

and liabilities for the benefit of the post-confirmation Trust. There is no legal

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basis for this attempt.

24. The court does not have jurisdiction over post-confirmation
controversies, even when the basis for those controversies may have been
covered in a plan of reorganization. In re J.T. Gerken Trucking, Inc., 10 B.R. 203,
204 (Bankr.N.D.Ohio 1981), the court concluded that "affirmation of the
[collective bargaining] agreement in the plan does not confer jurisdiction upon
the [bankruptcy] court over post confirmation controversies. A confirming
court's jurisdiction is limited to matters concerning the operation of the plan."
See also Hail's Motor Transit, 889 F.2d 520,522 (34 Cir. 1989). ("The bankruptcy
court's jurisdiction does not follow the property, but rather, it lapses when the
property leaves the estate.").

295. Similarly, in In re Express One International, Inc., 217 B.R. 215, 216-
17 (Bankr.E.D.Tx.1998)a creditor, which had filed pending administrative claim
seeking payment for postpetition maintenance work it performed on the Chapter
11 debtor-in-possession's aircraft, filed a motion for order allowing
postconfirmation Rule 2004 examination of the debtor and for production of
documents. The Bankruptcy Court examined the scope of Rule 2004 after plan
confirmation and held that the examination would be limited in scope to the
single issue of whether the debtor was setting funds aside to pay creditor's
administrative claim, should creditor ultimately prevail on its claim. (instructing
that in a post-confirmation situation, Rule 2004 examination is limited to
matters relating to the administration of the case).

C. The Trust Failed To Specify the Scope and Nature of the

Examination

26. The 2004 Motions fail to state how the matters sought relate to
post-confirmation jurisdiction. Persons seeking Rule 2004 examinations must
specify the scope and nature of the examination. Enron, 281 B.R. at 840. See

Fed. R. Bankr. P. 9013 requires that a motion shall state with particularity the

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grounds therefore, and shall set forth the relief or order sought.

27. The Rule 2004 examinations and related subpoenas violate each of
these restrictions. In addition, there is little doubt that the financial privacy
interests of the various Movant entities and individuals far outweighs any
minimal need for the information sought. Therefore, the Trust cannot meet its
burden of establishing “good cause” and the subpoenas must be quashed.

D, The Discovery Requested Is Sought For The Purpose Of Abuse And
Harassment.

28. Given the extreme overbreadth of these subpoenas, there is little
question that an additional purpose of this discovery is to abuse and harass the
Movants and their banks — not to seek relevant information concerning the
Debtors or the post-confirmation bankruptcy estate. The abusive and harassing
nature of these subpoenas is evidenced by the sheer volume of the information
sought which includes all documents and information regarding any account held
at any time at any of the subject banks or financial institutions personal and
private banking information of fifty Movant entities and individuals, the
vast majority of which have had no involvement with USACM. (See Ex. A). These
subpoenas specifically seek ninety-three (93) categories of documents and
information that range from a variety of items for all of these entities and
individuals - without any limitation to the relevancy of the information to the
particular entity or individual. (Id.). The effect of the subpoenas may well be to
damage the relationship of the Movant entities and individuals with their
lenders.

29. Moreover, these requests are made for a period of time beginning in
January 1997 to the present -- again without any attempt to define or limit the
information sought to relevant entities, individuals or information. The abusive

nature of these subpoenas does not stop there but is further buttressed by the

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definitions provided for the subpoenaed entities’ compliance. As just one

example, “documents” being defined in the subpoenas as:

All originals, drafts, modifications of originals, of written, printed,
typed, graphic, recorded, and visually or orally produced material
of any kind, whether or not privileged, and includes but is not
limited to, correspondence, business records, telephone records
and notations, diaries, calendars, minutes, contracts, agreements,
orders, receipts, invoices, bills, pictures, drawings, or sketches,
blueprints, designs, notebooks, advertising, and commercial
literature, promotional literature, of any kind, cables, telexes,
telegrams, recordings, patents, lists, charts, pamphlets,
appendices, exhibits, summaries, outlines, logs, journals,
agreements, work papers, statements, records of inventory,
financial and/or accounting records, catalogues, trade journals,
and other documented or recorded information. The term
“document” also includes every other manner by which
information was recorded or transmitted, including but no limited
to, microfilms, punch cards, disks, tapes, computer programs,
printouts, ail recordings made through data processing equipment
to obtain the information recorded by that method. The term
“document” refers to copies, duplicates, and/or counterparts only
where (i) the copy, duplicate, or counterpart is not exactly identical
to the original or (ii) your records only contain a copy, duplicate, or
counterpart of the original and not the original itself.

(See Ex. A, pp. 1-2.)
30. The abusive and harassing nature of these subpoenas is fully
apparent from the lengthy, confusing and overly inclusive definitions and
requests provided by the Trust. Finally, it goes without saying that the time,
effort and manpower necessary to comply with such improper subpoenas. would
be enormous and onerous. In short, these subpoenas go far beyond even a

typical Rule 2004 “fishing expedition.”

Instead [the Committee] using rod and reel, or even a reasonably
sized net, [the Committee] would drain the pond and collect the fish
from the bottom. This exercise goes beyond the bounds set by the
discovery rules.

In Re IBM Peripheral EDP Devices Antitrust Litig.,, 77 F.R.D. 39, 42-43
(Bankr.C.D. Cal. 1977). In fact, it seems that the Trust seeks to drain an ocean,
to find possible fish at the bottom of the sea. This can hardly be seen as

anything short of abusive and harassing.

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E. The Motions Filed by the Trust Were Improper and The Subpoenas
Seek Information Not Requested Or Stated In Those Improper Motions.

31. Even if such a motion were proper, a Rule 2004 examination may
only be taken after a proper motion is filed and granted by the court. Fed. R.
Bankr. P. 2004(a). The motion must state with particularity “the grounds for the
motion” and “set forth the relief sought.” Fed. R. Bankr. P. 9013. Thus, at a
minimum, a motion for a Rule 2004 examination must specify the scope and
nature of the examination requested. See Collier on Bankruptcy, J 2004.01[2]
(15 Ed. 2006). These basic requirements were not met.

32. The Trust’s motions fail to meet this requirement. The Motions are
misleading in what they seek. In all but one of the Bank motions, the Trust
simply states as that: “The [Trust] seeks information concerning legal services
performed by BofA on behalf of USACM, the other debtors in the above-
captioned cases... .” (See Ex. B at p. 2:10-12) (emphasis added). Besides the
general statement seeking information about the legal services provided to
debtors allegedly by these institutions, there is no explanation by the Trust as to
how the information sought is relevant or reasonably related to the debtors or
the bankruptcy, much less to the post-confirmation administration of the estate;
how the information will be gathered, what information will be requested and
what, if any, private or confidential information from third parties may be
implicated. In fact, the Trust did not even attach a draft subpoena to any one of
these motions. Had the Trust done so — it would have revealed what the Trust
was actually seeking -- substantial confidential, private financial information of
a multiple different entities and individuals spanning over a decade.?

33. Worse still, although the Trust’s moving papers sought only

? In total, these overbroad subpoenas sought private, confidential financial information
concerning over 188 different companies/entities and 36 different individuais via 93

separate requests for information. Of those fifty-one represent the Movants.

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“information concerning legal services performed” by the various banks and
financial institutions (Id.) the subpoenas issued did not seek any documents or |
information pertaining to “legal services.” (Ex. A). Rather, these subpoenas seek
an excessively large amount of financial information, including banking account
information, private financial account information from individuals and other
like information - which has nothing to do with rendering “legal services.” For
example, the requests seek “documents and evidence of any and all accounts” at
the various banks or documents in the name or for the benefit of the various
movant entities and individuals and so on. (See Ex. A, p. 13 4] 2-3}. Therefore,
as the Trust was granted information to conduct a Rule 2004 examination of
these various entities to determine the “legal services” provided to the debtors,
the attempt by the Trust to obtain information never requested from the Court is
highly improper. Accordingly, the subpoenas issued are procedurally defective
and must be quashed.

F, Rowe and Seabert Are Not Corporate Representatives

34, The Motions for Seabert and Rowe are similarly misleading. The
subpoenas disclose that the Trust seeks to examine Seabert and Rowe as
corporate representatives — not as individuals. The Motions contain no such
disclosure. The Individual motions are a thinly-veiled attempt to avoid paying
for 188 corporations to be examined. There is no legal basis for permitting
Movants to avoid paying proper costs and expenses associated with discovery.

G. The Movants’ Interests In Privacy Outweighs The Trust’s Need For
The Discovery Sought.

35. Finally, in determining whether the Trust has established “good
cause” as required under Rule 2004, the Court must weigh the competing
interests of the parties. In Re Drexel Burnham Lambert Group, Inc, 123
B.R. 702, 712 (Bankr.S.D.N.Y. 1991). Thus, the Court must weigh the need

for the requested discovery against the interests of the party seeking to protect

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the information. Id.

36. Here, the Trust cannot provide any legitimate, good cause basis for
the relevancy or the need of the requested information. As detailed above, the
information sought and the manner in which it was requested, establishes that
there is little, if any, relationship between Movants and the Debtors or the
bankruptcy proceedings at issue.

37. The information sought from the Banks is personal, confidential
financial information of the Movants. The Movants have legitimate privacy
interests in their personal, confidential financial information. See e.g, Whalen v.
Roe, 429 U.S. 589 589 (1977) (recognizing fundamental constitutional right to
privacy includes a right to informational privacy). This legitimate interest of
privacy in one’s financial information is supported by the overwhelming number
of laws which specifically protect these vary privacy interests. See e.g. 18 U.S.C.
§ 1693, 1693m (Electronic Funds Transfer Act); 15 U.S.C. 4 1681 et. seg. (Fair
Credit Reporting Act); 5 U.S.C. 7 552 (Freedom of Information Act); 15 U.S.C. §
6801 ef. seq. (Gramm-Leach-Bliley Act); 5 U.S.C. § 552a (Privacy Act); 12 U.S.C.
§ 3401 et. seq. (Right to Financial Privacy Act).

38. Thus, on balance, there is little question that the privacy interests of
the Movants in their personal, confidential information far outweighs the
interests of the Trust in collecting this irrelevant information.

39, In sum, the Trust cannot establish the required “good cause” to
overcome this motion to quash for all of the reasons listed above.

H. Movants Are Entitled To A_ Protective Order.

40. Even if this Court disagrees, Movants request that the Court enter a
protective order limiting the information sought pursuant to the Trust’s requests
and entry of an order sealing the personal, confidential financial information
and documents received by the Trust. Fed. R. Bankr. P. 9018.

41. The Court may “make an order which justice requires (1) to protect

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the estate or any entity in respect of a trade secret or other confidential
research, development, or commercial information.” Fed. R. Bankr. P. 9018; see
also In re Drexel Burnham Lambert Group, Inc. 123 B.R. 702, *711-
712 (Bankr.S.D.N.Y. 1991) (explaining that a Rule 2004 fishing expedition “can
net the dolphins as well as the tuna; however, the net, in the discretion of the
Court, can be carefully stitched to limit its catch.”),

42, Before, this Court permits the unlimited discovery via these
subpoenas, the Movants request that this Court require the Trust to limit their
search to only those entities and individuals that may have some relevant
information concerning the debtor and/or the bankruptcy proceeding. See
Dinublio, 177 B.R. at 940 (instructing that, “Third parties subject to examination
pursuant to Rule 2004 are ‘only [ ] those persons possessing knowledge of the
debtor's acts, conduct or financial affairs so far as this relates to a debtor's
proceeding in bankruptcy.”). Movants further request that the Trust be required
to make a showing or offer of proof that there is a financial link between the
Debtors and the Movants’ personal financial records.

43, Finally, to the extent that the Court permits the information
subpoenaed to be provided to the Trust, the Movants request that the Court
enter an order compensating Movants for the enormous expense involved in
complying with the subpoenas and sealing the personal, confidential financial
information of Movants from the public record and forbidding the Trust from
sharing or exposing the information to any third party without first obtaining
court approval. Recall, the information requested is “commercial information.”
See Fed. R. Bankr. P. 9018. If this information exposed, this private,
confidential information would be the subject of the perusal by individuals and
entities having no basis or need for such information and who could use the
information improper uses — such as identity theft. Moreover, this personal,

confidential financial information could be used by Movants’ competitors.

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44. Thus, at a minimum, Movants request a protective order: (1)
limiting the scope of the information that may be requested to only those entities
and individuals that have relevant information that bears some rational
relationship to the debtors and/or the bankruptcy upon a proper offer of proof;
and (2) compensating Movants for the cost and expense of compliance and (3)
sealing the personal, confidential financial information of the Movants from the
public record and requiring the Trust to obtain court approval before revealing
this information to third parties.

Il. CONCLUSION

45. Movants respectfully request that the Court grant their Motion to
Quash the Subpoenas in its entirety prohibiting the Trust from obtaining
personal, confidential financial documents and records from the Banks. In the
alternative, Movants request that the Court enter a protective order limiting the
information that may be obtained by the Trust and sealing that information from
the public record and from disclosure to third parties.

DATED: May 11, 2007 MCDONALD CARANO WILSON, LLP

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